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                          UNITED STATES DISTRICT COURT
                                                                                         il-
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

    UNITED STATES OF AMERICA
                                                    No. 16 CR 635
             v.
                                                    Violation: Title     21   United States
    SAMEER NATOUR                                   Code, Section 846
          also known as "Haboob";                                              JUDGE SHAH
    THAMER M. ALIIABBAS; and
    JESSICA FLORES
                                                         ilIAGISIRATE JUDGT
                                                                            SCHTFilKIER
          The SPECIAL JUNE 2015 GRAND JURY charges:

          Beginning no later than January 20LG and continuing to on or about October

    3, 2016, at Chicago, in the Northern District of Illinois, Eastern Division,         and

    elsewhere,

                             SAMEER NATOUR, aka "Haboob,"
                              THAMER M. ALIIABBAS, ANd
                                  JESSICA FLORES,

    defendants herein, did conspire with each other and with others known and unknown

    to the Grand Jury to knowingly and intentionally possess with intent to distribute

    and distribute a controlled substance, namely, a quantity of a mixture and substance

    containing 3-4 Methylenedioxymethamphetamine ("MDMA"),                    a   Schedule I

    Controlled Substance, in violation of Title 21, United States Code, Section 8a1(a)(1);

            In violation of Title 21, United States Code, Section 846.
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                          FORFEITI]RE ALLE GATION

      The SPECIAL JUNE 2015 GRAND JURY further charges:

      1.     As a result of the violation of Title 21, United States Code, Section 846,

as alleged in this indictment,
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                                    SAMEER NATOUR
                                 also known as "Haboob";
                              TIIAMER M. ALIIABBAS; ANd
                                       JESSICA FLORES

defendants herein, shall forfeit to the United States, pursuant to Title 21, United

States Code, Section 853(a)(1) and (2): (L) any and all property constituting and

derived from, any proceeds they obtained, directly and indirectly, as a result of the

violation; and (2) any and all property used, or intended to be used, in any manner

or part, to commit and facilitate the commission of the violations.

      2.     The interests of the defendants subject to forfeiture to the United

States pursuant to Title 2L, United States Code, Section 853 include, but are not

limited to, approximately $320,000.
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      3.      Ifany ofthe property described above, as a result ofany act or

omission by a defendant: cannot be located upon the exercise of due diligence; has

been transferred of sold to, or deposited with, a third party; has been placed beyond

the jurisdiction of the Court; has been substantially diminished in value; or has

been commingled with other property which cannot be divided without difficulty,

the United States of America shall be entitled to forfeiture or substitute property,

as provided   in Title 21, United States Code, Section 853(p).



                                                      A TRUE BILL:



                                                      FOREPERSON


UNITED STATES ATTORNEY
